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DIs'rRIcT oF MASSACHUSETTS M,

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) W/
UNITED sTATEs oF AMERICA )
)
v. )

_ ) criminal Acr. No. 1640025-'rsH

IVAN cnUz-nrvERA and )
cARLos JIMENEZ, )
Defendants. )
)
)

 

VERDICT FORM FOR THE DEFENDANT IVAN CRUZ-RIVERA

 

1. As to COUNT ONE of the Indictment, charging the Defendant, IVAN CRUZ-
RIVERA, with conspiracy to possess with intent to distribute and to distribute heroin, in

violation of 21 U.S.Q. § 846, we, the jury, find the Defendant, IVAN CRUZ-RIVERA:

NOT GUILTY Y GUILTY
lf your verdict is NOT GUILTY, please proceed to question 4.

If` your verdict is GUILTY, please answer question 2.

2. Did the conspiracy described above in COUNT ONE involve 100 grams or more

of a mixture or substance containing a detectable amount of heroin?

_NO __LYES

If your answer to question 2 is NO, please proceed to question 4.

If your answer to question 2 is YES, please answer question 3.

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3. With respect to the conspiracy described in COUNT ONE, were 100 grams or
more of a mixture or substance containing a detectable amount of heroin attributable and
reasonably foreseeable to the defendant, IVAN CRUZ-RIVERA?

NO BYES

Whether your answer to question 3 is NO or YES, please proceed to question 4.

4. As to COUNT TWO of the Indictment, charging the Defendant, IVAN CRUZ»
RIVERA, with possession with intent to distribute heroin and distribution of heroin, in violation
of 21 U.S.C. § 841(a)(l) and 21 U.S.C. § 841(b)(1)(B)(i), we, the jury, find the Defendant,

IVAN CRUZ-RIVERA:

NOT GUILTY g GUILTY

lf your verdict is NOT GUILTY, stop here, and date and sign the verdict slip.

If your verdict,is GUILTY, please answer question 5.

5. With respect to COU'NT TWO, was the quantity of heroin that the Defendant,
IVAN CRUZ-RIVERA, possessed with intent to distribute or distributed 100 grams or more of a

mixture or substance containing a detectable amount of heroin?

NO YES

The foregoing represents the unanimous decision of the jury.

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UNITED STATES DISTRICT COUR'I`
DISTRICT OF MASSACHUSETTS

 

UNITED STATES OF AMERICA

v.
Criminal Act. No. lé~40025-TSH
IVAN CRUZ-RIVERA and
CARLOS .]IMENEZ,
Defendants.

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VERDICT FORM FOR THE DEFENDANT CARLOS JIMENEZ

 

1. As to COUNT ONE of the Indictment, charging the Defendant, CARLOS
JIMENEZ, with conspiracy to possess with intent to distribute and to distribute heroin, in
violation of 21 U.S.C. § 846, we, the jury, find the Defendant, CARLOS JIMENEZ:

NOT GUILTY X GUILTY
Ii` your verdict is NOT GUILTY, please proceed to question 4.

If your verdict is GUILTY, please answer question 2.

2. Did the conspiracy described above in COUNT ONE involve 100 grams or more
of a mixture or substance containing a detectable amount of heroin?
NO X YES
If your answer to question 2 is NO, please proceed to question 4.

If your answer to question 2 is YES, please answer question 3.

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3. With respect to the conspiracy described in COUNT ONE, were 100 grams or
more of a mixture or substance containing a detectable amount of heroin attributable and
reasonably foreseeable to the Defendant, CARLOS JIMENEZ?

x NO YES

Whether your answer to question 3 is NO or YES, please proceed to question 4.

4. As to COUNT TWO of the Indictment, charging the Defendant, CARLOS
JIMENEZ, with possession with intent to distribute heroin and distribution of heroin, in violation
of 21 U.S.C. § 84I(a)(1) and 21 U.S.C. § 841(b)(1)(B)(i), we, the jury, find the Defendant
CARLOS IIMENEZ:

NOT GUILTY Y GUILTY
It` your verdict is NOT GUILTY, stop here, and date and sign the verdict slip.

It` your verdict is GUILTY, please answer question 5.

5. With respect to COUNT TWO, was the quantity of heroin that the Defendant, CA
RLOS JIMENEZ, possessed with intent to distribute or distributed 100 grams or more of a

mixture or substance containing a detectable amount of heroin?

NO X YES

The foregoing represents the unanimous decision of the jury.

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